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                                                    January 22, 2021


Via ECF
Hon. P. Kevin Castel
United States District Judge
United States Courthouse
500 Pearl Street
New York, New York 10007

               Re:    United States v. Juan Antonio Hernandez Alvarado
                      15 Cr. 379

Dear Judge Castel:

      I represent Mr. Hernandez Alvarado. I write to update the Court on the current status of
Mr. Hernandez’s matter, and to request an adjournment of sentence.

        Translation of the PSR and prior sentencing submission are almost complete. I will
need to get the translations and then meet with my client to discuss them, then include any
points from that discussion into our sentencing submission.

       At this time, I cannot consent to a remote sentencing proceeding on Mr. Hernandez
Alvarado’s behalf. As such, I ask the Court to set an in-person sentencing date at its
convenience, after the Court reopens to such appearances.

       Thank you for your consideration.


                                                    Respectfully submitted,




                                                    Peter E. Brill
